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NORTHERN DISTRICT OF TEXAS

IN THE UNITED STATES DISTRICT COURT FILED
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION AUG 9 agg
UNITED STATES OF AMERICA nok U.S. DISTRICT CoURT

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v. No. 41% mM U-G Upyruy

SHANNON NICHOLS (01)
CRIMINAL COMPLAINT
I, the undersigned Complainant, being duly sworn, state the following is true and
correct to the best of my knowledge and belief:

On or about February 16, 2019, the defendant, Shannon Nichols, in the Northern
District of Texas, did knowingly use, persuade, and induce a minor under the age of
eighteen to engage in sexually explicit conduct for the purpose of producing a visual
depiction of such conduct, and such visual depiction was produced using materials that
had been mailed, shipped and transported in and affecting interstate and foreign
commerce by any means. Specifically, Nichols used an Alcatel cell phone to produce the
following depiction of minors engaged in sexually explicit conduct:

 

File name Description of file

VID-20190216-WA0022.mp4_ | A video file, approximately 17 seconds in length,
depicting a minor female with a black mask on her
face performing oral sex on the penis of a
prepubescent boy.

 

 

 

 

 

In violation of 18 U.S.C. § 2251 (a).

I, Christopher Thompson, being duly sworn under oath, do hereby depose and
state:
I. I am currently a Special Agent of the Federal Bureau of Investigation (FBI) since

April 2004, and I am currently assigned to the Dallas Division.

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2. I am currently assigned to a Child Exploitation Task Force, wherein my duties and
responsibilities include investigating criminal violations relating to the sexual
exploitation of children (SEOC). I have investigated SEOC violations since 2004 and
have gained expertise in these types of investigations through training in seminars,
classes, and my everyday work. In addition, I have received specialized training in the
investigation and enforcement of federal child pornography laws in which computers are
used as the means for producing, transmitting, collecting and storing child pornography.
3. This affidavit sets forth facts and suggest reasonable inferences from those facts,
establishing that there is probable cause to believe that on or about February 16, 2019, in
the Northern District of Texas, Shannon Nichols committed the offense of Sexual
Exploitation of Children, in violation of 18 U.S.C. § 2251.
4. The information contained in this affidavit is from my personal knowledge of the
described investigation and from information obtained from other law enforcement
agents.

OVERVIEW OF INVESTIGATION
5. On August 5, 2019, I met with a technician for a data recovery business that had
reported discovery of child pornography on a hard drive submitted by a customer seeking
data recovery. After meeting with the business representative and reviewing an image
that depicted child pornography, I seized the hard drive and other associated drives and
brought them to the FBI office located in Dallas, Texas.
6. A search warrant was obtained to conduct a forensic review of the hard drive. As

a result of the analysis, I observed the following:

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a. Ina folder labeled “Shannon meme” is the file “ZomboMeme
07122016014335.jpg” which depicts an adult Caucasian woman
performing oral sex on the penis of a prepubescent male. Text at the
bottom of the image reads “I WILL SUCK HIM WHEREVER...
WHENEVER”.

b. Ina folder labeled “fer” is file “20170109 _180008.jpg” which depicts an
adult male subsequently identified as Tyrone Taylor wearing a white
sleeveless undershirt lying on a bed with his pants down. A girl
approximately 11 years of age wearing an orange shirt is seen holding a cell
phone and placing her tongue on the erect penis of the adult male. The
adult male is looking at the camera and smiling.

7. The data recovery technician had also recovered from the hard drive a Department
of Veteran’s Affairs document with the name of “Shannon Nichols” in the title. I
reviewed Accurint records for Taylor and observed that he is associated with “Shannon
Nichols” at address [redacted] Belzise Terrace, Fort Worth, Texas 76104. I then obtained
Texas Department of Motor Vehicle records for Shannon Nichols at that address. The
driver’s license image matches the woman depicted in file “ZomboMeme
07122016014335 jpg.”

8. On August 8, 2019, search warrants for Taylor’s residence in Fort Worth and
Nichols’s residence at [redacted] Belzise Terrace in Fort Worth were obtained; searches
were conducted by FBI agents at each location on August 9, 2019. A black Western

Digital Elements external hard drive was recovered from Taylor’s home.

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On this hard drive in a folder labeled “Shannon meme” is the file “ZomboMeme
07122016014335.jpg,” which depicts an adult Caucasian woman’s mouth on the penis of
a prepubescent minor male. Once again, the text at the bottom of the image reads “I
WILL SUCK HIM WHEREVER... WHENEVER.”

9. After providing Taylor with his Miranda warnings, Taylor agreed to be
interviewed. Taylor was shown the “ZomboMeme 07122016014335.jpg” file and
recognized the image. He stated the woman in the image is Shannon Nichols. The
child depicted in the image has also been identified as a real minor.

10. Nichols was present during the search of her home. She, too, was provided
Miranda warnings and agreed to speak with agents. Nichols admitted to having files
depicting the sexual exploitation of children on her cellular telephone. Nichols provided
the passcode to access its contents.

11. On the device, Special Agents Peter Craanen and Jennifer Mullican observed a
file, “WID-20190216-WA0022.mp4,” which is described as a video file, approximately
17 seconds in length, depicting a minor female with a black mask on her face performing
oral sex on the penis of a prepubescent boy. Nichols stated that she took the video, and
identified the minor female and the minor male. At the time of the video’s creation, the
minor male was 10 years old and the minor female was 14 years old. Nichols also said

that she took the video at her home in Fort Worth, Texas, using her cellular telephone.

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12. The phone used by Nichols is described as an Alcatel, model 6062W bearing
IMEI number 016125003275118. The words "Made in China" are printed on the
label. Therefore, there is probable cause to believe that the Alcatel cell phone itself
traveled in interstate and foreign commerce.

CONCLUSION
13. Based on the facts and circumstances set forth in this affidavit, I respectfully
submit that there is probable cause to believe that Shannon Nichols did knowingly use,
persuade, and induce a minor under the age of eighteen to engage in sexually explicit
conduct for the purpose of producing a visual depiction of such conduct, and such visual
depiction was produced using materials that had been mailed, shipped or transported in
and affecting interstate or foreign commerce by any means, in violation of 18 U.S.C. §
225 1(a).

Christopher Thompson, Special Agent
Federal Bureau of Investigation

 

    

Subscribed and sworn before me thi

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